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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   DAVID ALLEN GILLUM,

 9                              Plaintiff,                 CASE NO. 2:19-cv-01859-RSM-BAT

10           v.                                            ORDER

11   OWENS, et al.,

12                              Defendant.

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14          Having reviewed the Report and Recommendation of the Honorable Brian A. Tsuchida,

15   Chief United States Magistrate Judge, any objections or responses to that, and the remaining

16   record, the Court finds and ORDERS:

17          (1)     The Court ADOPTS the Report and Recommendation.

18          (2)     Summary judgment is GRANTED IN-PART to dismiss the generalized claims

19   of unconstitutional confinement and to dismiss defendant Sergeant Namon Merritt, Jr.

20          (3)     Summary judgment is DENIED IN-PART without prejudice as to King County

21   and the correctional officers on the question of excessive custody.

22          (4)     King County is SUBSTITUTED as the proper defendant in place of Maleng

23   Regional Justice Center.




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 1          (5)     Pro se plaintiff should be GRANTED LEAVE TO AMEND his complaint

 2   within thirty (30) days to clarify that that defendants include Captain Dean Owens; to add

 3   DAJD Sergeant Thomas Manning and DAJD Corrections Officer Jon McLellan as

 4   defendants sued in their individual capacities; and to reflect that the sole § 1983 claim is one for

 5   excessive custody.

 6          (6)     The current pretrial scheduling order is STRICKEN. Dkts. 24, 32. Once plaintiff

 7   has filed his amended complaint, the Court will order service on Sergeant Manning and Officer

 8   McLellan and issue an amended pretrial scheduling order.

 9          (7)     This matter is REFERRED to Chief Magistrate Judge Brian A. Tsuchida for

10   further pretrial proceedings.

11          (8)     The Clerk is directed to send copies of this Order to the parties and to Judge

12   Tsuchida.

13          Dated this 21st day of October, 2020.

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                                                    RICARDO S. MARTINEZ
17                                                  CHIEF UNITED STATES DISTRICT JUDGE

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